                          Case 1:23-cr-00430-KPF Document 39-1 Filed 04/05/24 Page 1 of 9

                                                United States v. Storm, 23-cr-430 (KPF)
                                                 DeFi Education Fund Amicus Exhibit A
                                       Table of IEEPA Indictments Against Individual Defendants

Second Circuit Cases

                                                                                                                  Relevant Charged
         Case Name and Docket                                     Alleged Conduct
                                                                                                                      Violations
                                        Defendants accused of conspiring to violate IEEPA by running
       United States v. Dhafir, No.                                                                              18 U.S.C. § 371; 18
 1.                                     fraudulent charity designed to illegally send money to religious
       03-cr-64 (N.D.N.Y. 2005)                                                                                  U.S.C. § 1956
                                        factions in Iraq and conceal intended recipient of donations.
       United States v. Hashmi, 06-
                                        Defendant accused of conspiracy to violate and substantive violation     50 U.S.C. § 1705(b);
       cr-442 (LAP) (S.D.N.Y.
 2.                                     of the IEEPA for providing al Qaeda with military gear to be used        31 C.F.R. §§
       2006); 2009 WL 4042841
                                        against United States forces in Afghanistan.                             595.204, 595.205
       (S.D.N.Y. Nov. 18, 2009)
       United States v. Gaillard,       Defendant conspired to violate IEEPA and exported $300,000 worth
 3.    No. 07-cr-00438 (E.D.N.Y.        of microplate coating and test tube coating systems to Iran via Dubai,   18 U.S.C. § 371
       2007)                            UAE.
       United States v. Khan, No.       Defendant conspired to violate IEEPA by exporting aircraft
 4.                                                                                                              18 U.S.C. § 371
       04-cr-441 (E.D.N.Y. 2004)        components to Iran.
       United States v. Gribbon,
                                        Defendant conspired to violate IEEPA by illegally exporting
 5.    No. 07-cr-544 (E.D.N.Y.                                                                                   18 U.S.C. § 371
                                        microplate coating and test tube coating systems to Iran.
       2007)
       United States v. Banki, No.
                                        Defendant convicted of conspiracy to violate IEEPA by operating          18 U.S.C. § 371; 50
       10-cr-08 (JFK) (S.D.N.Y.
 6.                                     hawala system, an unlicensed money transmitting business, sending        U.S.C. § 1705; 18
       2010); 685 F.3d 99 (2d Cir.
                                        funds to Iran.                                                           U.S.C. § 1960
       2012)
       United States v. Safarha,                                                                                 18. U.S.C. § 371; 50
                                        Defendant conspired to violate IEEPA by transmitting approximately
 7.    No. 10-cr-625 (RJS)                                                                                       U.S.C. § 1701; 18
                                        $300,000 through the hawala system to Iran.
       (S.D.N.Y. 2011)                                                                                           U.S.C. § 1956
       United States v. Fishenko, et
                                        Defendants conspired to violate IEEPA by exporting microelectronics      18 U.S.C. § 371; 50
 8.    al., No. 12-cr-626 (SJ)
                                        to Russian military and intelligence agencies.                           U.S.C. § 1705
       (E.D.N.Y. 2012)
       United States v. Chen, No.       Defendant conspired to violate IEEPA by acquiring and attempting to
                                                                                                                 50 U.S.C. §§ 1702,
 9.    12-cr-563 (NGG) (E.D.N.Y.        export a specialized type of carbon fiber used in military or nuclear
                                                                                                                 1705
       2012)                            engineering projects from US to Taiwan.


                                                              Page 1 of 9
                         Case 1:23-cr-00430-KPF Document 39-1 Filed 04/05/24 Page 2 of 9

                                               United States v. Storm, 23-cr-430 (KPF)
                                                DeFi Education Fund Amicus Exhibit A
                                      Table of IEEPA Indictments Against Individual Defendants

                                                                                                                 Relevant Charged
        Case Name and Docket                                      Alleged Conduct
                                                                                                                     Violations
      United States v.
                                       Defendant attempted to export military-guide night vision rifle scopes
10.   Ponomarenko, No. 12-cr-                                                                                   50 U.S.C. § 1705(c)
                                       from US to Ukraine.
      254 (ERK) (E.D.N.Y. 2012)
      United States v. Sarvestani,
                                       Defendant conspired to violate IEEPA by using two UAE companies
      No. 13-cr-214 (PGG)                                                                                       18 U.S.C. § 371; 50
11.                                    to conceal the true destination of US-made technology exported to
      (S.D.N.Y. 2013); 297                                                                                      U.S.C. § 1705
                                       Iran.
      F.R.D. 228 (S.D.N.Y. 2014)
                                       Defendant conspired to violate IEEPA by shipping parts from US
      United States v. Talebi, No.                                                                              18 U.S.C. § 371; 50
12.                                    designed to be used in industrial operations, such as petrochemical
      12-cr-295 (S.D.N.Y. 2013)                                                                                 U.S.C. § 1702
                                       plants, to customers in Iran.
      United States v. Zhang, No.
13.   12-cr-00666 (E.D.N.Y.            Defendant attempted to export aerospace-grade carbon fiber to China.     50 U.S.C. §1705
      2012)
      United States v. Bout et al.,
                                       Defendants conspired to launder money and ship American aircrafts        50 U.S.C. § 1705; 18
14.   No. 09-cr-01002 (S.D.N.Y.
                                       and other military items to Iran, Afghanistan, Congo, Sudan, etc.        U.S.C. § 1956
      2009)
      United States v. Gromacki,
                                                                                                                18 U.S.C. § 371; 15
15.   No. 12-cr-00302 (S.D.N.Y.        Defendant conspired to export high-grade carbon fiber to China.
                                                                                                                U.S.C. § 1702
      2012)
      United States v. Parsa, No.      Defendant conspired to violate IEEPA by obtaining high-tech
16.   14-cr-00710 (S.D.N.Y.            electronic components from American companies for shipment to            50 U.S.C. § 1705
      2014)                            Iran.
      United Stales v. Kuyumcu,
                                       Defendant conspired to violate IEEPA by exporting metallic powder
      No. 16-cr-00308 (DLI)
17.                                    used to coat turbines with potential military, aerospace, missile, and   50 U.S.C. § 1705
      (E.D.N.Y. 2016); 2017 WL
                                       nuclear applications to Iran via Istanbul.
      3995576 (E.D.N.Y. 2017)
                                                                                                                18 U.S.C. § 371; 50
      United States v. Zarrab, No.     Defendant conspired to conduct international financial transactions
                                                                                                                U.S.C. §§ 1701-1706;
18.   15-cr-867 (RMB) (S.D.N.Y.        using Turkish and Emirati companies to conceal services provided to
                                                                                                                31 C.F.R. §§
      2016)                            Iran and agents of the Islamic Revolutionary Guard Corp.
                                                                                                                560.202-205


                                                             Page 2 of 9
                        Case 1:23-cr-00430-KPF Document 39-1 Filed 04/05/24 Page 3 of 9

                                              United States v. Storm, 23-cr-430 (KPF)
                                               DeFi Education Fund Amicus Exhibit A
                                     Table of IEEPA Indictments Against Individual Defendants

                                                                                                               Relevant Charged
       Case Name and Docket                                     Alleged Conduct
                                                                                                                   Violations
      United States v. Diatlova,      Defendant convicted of conspiring to violate IEEPA and commit wire
                                                                                                              50 U.S.C. §§ 1701-
19.   2017 WL 1755967                 fraud related to shipping an export-controlled microelectronic to
                                                                                                              1707
      (E.D.N.Y. 2017)                 Russia.
      United States v. Sun, No.
                                      Defendant attempted to export carbon fiber with military and            50 U.S.C. §§ 1702,
20.   16-cr-404 (AKH) (S.D.N.Y.
                                      aerospace applications from US to China.                                1705
      2016)
      United States v. Henry, 13-     Defendant accused of attempting to violate IEEPA by running arms
      CR-91 (RRM) (E.D.N.Y.           export business and exporting “ablative materials” from US to           18 U.S.C. § 371; 50
21.
      2013); 888 F.3d 589 (2d         customer in Taiwan, who was buying the materials on behalf of the       U.S.C. 1705
      Cir. 2018)                      Taiwanese military.
      United States v. Mustafa,                                                                               18 U.S.C. § 371; 50
      No. 04-CR-356 (KBF)             Defendant conspired to violate IEEPA by providing material support      U.S.C. § 1705; 31
22.
      (E.D.N.Y. 2004); 753 F.         and resources to the Taliban.                                           C.F.R. §§ 545.204,
      App'x 22 (2d Cir. 2018)                                                                                 545.206(b)
      United States v. Sheikzadeh,
                                      Defendant conspired to violate IEEPA by providing hawala services
23.   No. 15-cr-00182 (PKC)                                                                                   50 U.S.C. § 1705
                                      to people in Iran.
      (E.D.N.Y. 2015)
                                                                                                              18 U.S.C. § 371
                                                                                                              (conviction vacated)
                                      Defendant accused of conspiring to conduct international financial
      United States v. Nejad, 18-     transactions using Venezuelan state-owned energy companies to
24.                                                                                                           50 U.S.C. § 1705; 31
      cr-224 (AJN) (SDNY 2018)        conceal from US that services were for the benefit of Iranian
                                                                                                              C.F.R. §§ 560.203,
                                      individuals.
                                                                                                              560.204, 560.205
                                                                                                              (conviction vacated)
                                                                                                              18 U.S.C. § 371; 50
      United States v. Atilla,                                                                                U.S.C. §§ 1701-1707;
                                      Defendant conspiring to violate IEEPA by orchestrating a scheme to
      No.15-cr-867 (RMB)                                                                                      31 C.F.R. Parts 560
25.                                   launder billions of dollars in Iranian oil proceeds held in “blocked”
      (S.D.N.Y. 2015); 966 F.3d                                                                               and 561; 18 U.S.C.
                                      accounts at a major Turkish bank and lying to Treasury Department.
      118 (2d Cir. 2020)                                                                                      §§ 1956(a)(2)(A),
                                                                                                              1956(h)


                                                            Page 3 of 9
                            Case 1:23-cr-00430-KPF Document 39-1 Filed 04/05/24 Page 4 of 9

                                                  United States v. Storm, 23-cr-430 (KPF)
                                                   DeFi Education Fund Amicus Exhibit A
                                         Table of IEEPA Indictments Against Individual Defendants

                                                                                                                     Relevant Charged
          Case Name and Docket                                       Alleged Conduct
                                                                                                                         Violations
        U.S. v. Olangian, No. 12-
        CR-00798-LAP (S.D.N.Y.            Defendant conspired to violate IEEPA by acquiring and transferring
 26.                                                                                                                50 U.S.C. § 1705
        2012); 803 F. App'x 536 (2d       anti-aircraft missiles to Iran.
        Cir. 2020)
                                                                                                                    50 U.S.C. § 1705(a);
                                          Defendant accused of conspiring to violate IEEPA by provide services
        United States v. Griffith, 20-                                                                              31 C.F.R. §§
 27.                                      to DPRK by traveling there to present at conference on blockchain
        cr-15 (PKC) (SDNY 2020)                                                                                     510.206(a) and
                                          technology.
                                                                                                                    510.212(b)
        United States v. Bazzazi, 24-
                                      Defendants conspired to violate IEEPA by exporting U.S. parts and
 28.    Cr.-60 (E.D.N.Y. Feb. 7,                                                                                    50 U.S.C. § 1705
                                      technology with military applications to Iran.
        2024)



Cases from Other Circuits

                                                                                                                     Relevant Charged
                  Case Name                                            Alleged Conduct
                                                                                                                         Violations
        United States v. Al-Arian, 308        Defendants, members of the Palestinian Islamic Jihad–Shiqaqi          18 U.S.C. § 371; 50
        F. Supp. 2d 1322 (M.D.F.L.            Faction, conspired to violate IEEPA by operating and directing        U.S.C. § 1705(b)
   1.
        2004)                                 fundraising and violent criminal activities in support of terrorist
                                              organization.
        United States v. Mahmood, No.         Defendants conspired to violate IEEPA by exporting construction       18 U.S.C. § 371
   2.
        04-cr-00365 (D.D.C. 2004)             equipment and spare parts to Iran.
        United States v. Miller, No. 02-      Defendants conspired to violate IEEPA by attempting to export         50 U.S.C. § 1705(b)
   3.
        cr-01117 (N.D. Ill. 2002)             items designated on the Commerce Control List to China.
        United States v. Quinn, 401 F.        Defendants conspired to violate IEEPA by exporting forklift truck     50 U.S.C. § 1705(b);
   4.
        Supp. 2d 80 (D.D.C. 2005)             parts from United States to Iran.                                     18 U.S.C. § 371




                                                                Page 4 of 9
                        Case 1:23-cr-00430-KPF Document 39-1 Filed 04/05/24 Page 5 of 9

                                              United States v. Storm, 23-cr-430 (KPF)
                                               DeFi Education Fund Amicus Exhibit A
                                     Table of IEEPA Indictments Against Individual Defendants

                                                                                                               Relevant Charged
               Case Name                                           Alleged Conduct
                                                                                                                   Violations
      United States v. Anvari-            Defendant transferred $4 million to Iran including by use of a      18 U.S.C. § 1705; 18
5.    Hamendani, No. 04-cr-786            hawala system.                                                      U.S.C. § 1956
      (N.D. Oh. 2004)
      United States v. Elashi, No.        Defendants conspired to violate IEEPA by supporting Hamas,          18 U.S.C. § 371; 50
6.    3:02-cr-052 (N.D. Tx. 2006)         laundering money, transacting with entities and persons on the      U.S.C. § 1701;
                                          SDN list and dealing in the property of a SDT.                      18 U.S.C. § 1956
    United States v. Esfahani, No.        Defendant was accused of running an unlicensed money transmittal    18 U.S.C. § 1960; 50
7.
    05-cr-00255 (N.D. Ill. 2005)          business and violating IEEPA by sending funds from US to Iran.      U.S.C. § 1705
    United States v. Montgomery,          Defendant convicted of conspiring to violate IEEPA by trafficking   50 U.S.C. §§ 1701-
8. 441 F. Supp. 2d 58 (D.D.C.             arms from the United States to Macedonia and Slovenia.              1706; 18 U.S.C. §
    2006)                                                                                                     371
    United States v. Sevilla, No. 04-  Defendant attempted to exported electronics testing equipment to       18 U.S.C. § 1705(b)
9.
    cr-00171 (N.D. Ill. 2004)          Iran and evade sanctions.
    United States v. Wen, et al., No.  Defendants conspired to violate IEEPA by exporting restricted          18 U.S.C. § 371; 18
10. 04-cr-00241 (E.D. Wis. 2005)       computer chips to China and concealing ultimate destination of         U.S.C. § 1956
                                       exports.
      United States v. Freyer¸ No. 06- Defendants conspired to violate IEEPA by exporting petrochemical       50 U.S.C. §§ 1701-
11.
      cr-00891 (C.D. Cal. 2006)        valves to Iran and Iraq.                                               1706
      United States v. Galgoul, No.    Defendant conspired to violate IEEPA by selling oilfield industry      18 U.S.C. § 371
12.
      07-cr-00211 (E.D.L.A. 2007)      software and commodities to Iranian companies.
      United States v. Ghashim, No.    Defendant attempted to export computer equipment to Syria.             50 U.S.C. § 1701-
13.
      06-cr-283 (S.D. Tex. 2006)                                                                              1706
      United States v. Maleki-Gomi,    Defendants conspired to violate IEEPA and evade sanctions by           18 U.S.C. § 371; 50
14.   No. 06-cr-00291 (D.D.C. 2008) shipping textile equipment from US to Iran through a front                U.S.C. § 1705
                                       company in Dubai.
      United States v. Rezaei, No. 07- Defendant conspired to violate IEEPA by exporting computers and        18 U.S.C. § 371; 50
15.   cr-00380 (N.D. Ga. 2007)         data processing machines to Iran via Dubai.                            U.S.C. § 1702,
                                                                                                              1705(b)
      United States v. Groos, No. 06-     Defendant willfully exported fire suppression equipment to Iran     50 U.S.C. §§ 1702,
16.
      cr-00420 (N.D. Ill. 2006)           knowing the ultimate destination was Iran.                          1705


                                                            Page 5 of 9
                        Case 1:23-cr-00430-KPF Document 39-1 Filed 04/05/24 Page 6 of 9

                                           United States v. Storm, 23-cr-430 (KPF)
                                            DeFi Education Fund Amicus Exhibit A
                                  Table of IEEPA Indictments Against Individual Defendants

                                                                                                                Relevant Charged
               Case Name                                          Alleged Conduct
                                                                                                                    Violations
      United States v. Hanna, No. 07-   Defendants conspired to export mobile telecommunications               18 U.S.C. § 371; 50
      cr-20355 (E.D. Mich. 2007);       network to Iraqi government under Saddam Hussein and evade             U.S.C. § 1705; 18
17.
      2012 WL 2094388 (E.D.Mich.        sanctions.                                                             U.S.C. § 1956
      2012)
      United States v. Vaghari, 2:08-   Defendant conspired to violate IEEPA by transshipping                  18 U.S.C. § 371; 50
18.   cr-00693 (E.D. Pa. 2008); 653     sophisticated goods including computer equipment, fuel cell            U.S.C. §§ 1701-05
      F. Supp. 2d 537 (E.D. Pa. 2009)   technology, and electrical equipment through Dubai to Iran.
      United States v. Amirnazmi, No.   Defendant conspired to violate IEEPA by marketing and providing        18 U.S.C. § 371; 50
      08-cr-00429 (E.D.P.A. 2008);      software program and training to Iranian companies.                    U.S.C. § 1705
19.
      648 F.Supp.2d 718 (E.D.P.A.
      2009)
      United States v. Avanessian,      Defendant conspired to violate IEEPA by exporting equipment for        18 U.S.C. § 371; 50
20.   No. 09-cr-01344 (C.D. Cal.        the enrichment of uranium to Iran.                                     U.S.C. § 1701; 18
      2009)                                                                                                    U.S.C. § 1956
      United States v. Mirza, No.       Defendants conspired to ship firearms and ammunition and to            18 U.S.C. § 371; 50
21.
      4:06-cr-00421 (S.D. Tex. 2006)    contribute funds to benefit the Taliban.                               U.S.C. § 1705(b)
      United States v. Shemami, No.     Defendant conspired to violate IEEPA by supplying Iraq                 18 U.S.C. § 371; 50
22.
      2:07-cr-20160 (E.D.M.I. 2007)     government with sensitive intelligence information.                    U.S.C. §§ 1701-1707
      United States v. Singh, No. 10-   Defendant attempted to export digital microwave radios to Iran in      50 U.S.C. § 1702,
23.
      cr-00093 (D. Del. 2010)           violation of IEEPA.                                                    1705(a),(c)
      U.S.A. v. Alexander, No. 4:11-    Defendants conspired to violate IEEPA by exporting waterjet            18 U.S.C. § 371; 15
24.   cr-00036-HLM-WEJ (N.D.Ga.         cutting systems from the US to Iran.                                   U.S.C. §§ 1701-1705
      2011)
      United States v. Aydin, No.       Defendants conspired to violate IEEPA by exporting from the            18 U.S.C. § 371; 15
      1:12-cr-00221-ODE-JEM (N.D.       United States to the Iran defense articles, microcircuits, and other   U.S.C. §§ 1701-1706
25.
      Ga. 2012); 2015 WL 927666         aircraft parts.
      (N.D.Ga. 2015)
      United States v. Kraaipoel, No.   Defendants conspired to violate IEEPA and evade sanctions by           18 U.S.C. § 371
26.
      09-cr-00220 (D.D.C. 2012)         supplying aviation components from United States to Iran.



                                                           Page 6 of 9
                        Case 1:23-cr-00430-KPF Document 39-1 Filed 04/05/24 Page 7 of 9

                                           United States v. Storm, 23-cr-430 (KPF)
                                            DeFi Education Fund Amicus Exhibit A
                                  Table of IEEPA Indictments Against Individual Defendants

                                                                                                               Relevant Charged
               Case Name                                        Alleged Conduct
                                                                                                                   Violations
    United States v. Boltutskiy, No.   Defendant, an international arms dealer from Belarus, conspired to     18 U.S.C. § 371; 50
    2:11-cr-00553-PD (E.D. Pa.         and exported hundreds of sophisticated military technology items       U.S.C. § 1705;
27. 2011)                              from the United States to Belarus. Defendant also arranged for         18 U.S.C. § 1956
                                       payment of the items through secret wires and offshore shell
                                       companies.
      United States v. Modanlo, No.    Defendant conspired to violate IEEPA by providing illegal satellite    18 U.S.C. § 371; 50
      10-cr-295 (D. Md. 2010)          services to Iran, laundering money, and obstructing bankruptcy         U.S.C. § 1705; 18
28.
                                       proceedings.                                                           U.S.C. § 1956; 18
                                                                                                              U.S.C. § 1957
    United States v. Taherkhani,       Defendants conspired to acquire United States goods technology         50 U.S.C. § 1702; 18
29. No. 13-cr-04228 (S.D. Ca.          for illegal export from the United States to Iran.                     U.S.C. § 371
    2013)
    United States v. Zhen Zhou Wu,     Defendants shipped tens of millions of dollars worth of                50 U.S.C. § 1705
    No. 08-cr-10386-PBS, 2011          sophisticated electronic components from the United States to
30. WL 31345, at *1 (D. Mass. Jan.     China.
    4, 2011); 711 F.3d 1 (1st Cir.
    2013)
    U.S. v. Nazemzadeh, 11-cr-5726     Defendant conspired to violate IEEPA by procuring medical              50 U.S.C. §§ 1702,
31. (S.D. Ca. 2011); 2014 WL           equipment for shipment to Iran in violation of U.S. export laws.       1705; 18 U.S.C. 371;
    310460 (S.D.Cal. 2014)                                                                                    18 U.S.C. 1956(a)(2)
    United States v. Turner, 13-cr-    Defendant conspired to violate IEEPA by providing public               50 U.S.C. §§ 1701-
    572 (N.D. Ill. 2013); 840 F.3d     relations, political consulting, and lobbying services “on behalf of   1707
32.
    336 (7th Cir. 2016)                or for the benefit of” certain Zimbabwean officials who were
                                       SDNs.
    United States v. Kim, 103 F.       Defendants conspired to export defense articles through to             50 U.S.C. §§ 1701-
33.
    Supp. 3d 32 (D.D.C. 2015)          intermediaries in China and Korea to ultimate customers in Iran.       1707
    United States v. Keshavarzi,       Defendants conspired to violate IEEPA by exporting epoxy               18 U.S.C. § 371; 50
34. No. 1:12-cr-00220-ELR-JKL          manufactured in the US to Iran.                                        U.S.C. §§ 1701-1701
    (N.D.Ga. 2012)



                                                          Page 7 of 9
                        Case 1:23-cr-00430-KPF Document 39-1 Filed 04/05/24 Page 8 of 9

                                           United States v. Storm, 23-cr-430 (KPF)
                                            DeFi Education Fund Amicus Exhibit A
                                  Table of IEEPA Indictments Against Individual Defendants

                                                                                                               Relevant Charged
               Case Name                                         Alleged Conduct
                                                                                                                   Violations
    United States v. al- Baroudi,       Defendant conspired to violate IEEPA by exporting an epoxy            50 U.S.C. § 1702,
35. No. 15-cr-00102 (E.D. Va.           manufactured in the US to Syria to supply rebel groups and evade      1705
    2015)                               sanctions.
    United States v. Chen, No. 16-      Defendant conspired to violate IEEPA and attempted to cause the       18 U.S.C. § 371; 50
36. cr-11 (D. Del. 2016)                export of controlled items including sophisticated night vision and   U.S.C. § 1702, 1705
                                        thermal imaging scopes with military applications to China.
    United States v. Cheng, No. 13-     Defendants conspired to violate IEEPA by working with two             50 U.S.C. § 1705; 18
37. cr-10332 (D. Mass 2013)             Iranian companies to supply pressure transducers and nuclear parts    U.S.C. § 371
                                        to Iran.
      United States v. Zadeh, No. 10-   Defendant conspired to violate IEEPA by exporting US goods,           18 U.S.C. § 371; 50
38.
      cr-00309 (D.D.C. 2010)            including aviation parts and supplies, to Iran military end-users.    U.S.C. § 1705
      United States v. Tajideen, 319    Defendant conspired to violate IEEPA by conducting unlawful           18 U.S.C. § 371; 18
      F. Supp. 3d 445 (D.D.C. 2018)     transactions and causing US persons to conduct unlawful               U.S.C. §
39.
                                        transactions with specially-designated global terrorist.              1956(a)(2)(A); 50
                                                                                                              U.S.C. §§ 1701-1707
    United States v. Hamed, 4:07-       Defendant conspired to violate IEEPA by causing nonprofit Islamic     18 U.S.C. § 371; 50
40.
    cr-087 (W.D. Mo. 2007)              American Relief Agency to send funds from US to Iraq.                 U.S.C. §§ 1701-1707
    United States v. Joseph, 9:18-      Defendant conspired to export firearms and ammunition to Haiti.       18 U.S.C. § 371; 50
41. cr-80139 (S.D. Fl. 2018); 806                                                                             U.S.C. § 1705
    F. App'x 910 (11th Cir. 2020)
    United States v. Singer, 4:18-cr-   Defendant attempted to export high-speed communications               50 U.S.C. § 1705
42. 10012 (S.D. Fl. 2018); 963 F.3d     modems to Cuba and made false statement to government officer.
    1144 (11th Cir. 2020)
    United States v. Hovan, No.         Defendant and co-conspirators conspired to purchase and sell          18 U.S.C. § 371; 18
43. 2:20-cr-254 (E.D.Pa. 2020)          Iranian oil and evade U.S. sanctions against Iran.                    U.S.C. § 1956(h); 50
                                                                                                              U.S.C. §§ 1701-1707
    United States v. Shih, 2:18-cr-     Defendant conspired to violate IEEPA by exporting                     50 U.S.C. §§ 1705(a),
44. 050 (C.D. Ca. 2018); 73 F.4th       semiconductors to China through several intermediaries.               (c); 18 U.S.C. §
    1077 (9th Cir. 2023)                                                                                      1956(a)(2)(A)



                                                          Page 8 of 9
                         Case 1:23-cr-00430-KPF Document 39-1 Filed 04/05/24 Page 9 of 9

                                            United States v. Storm, 23-cr-430 (KPF)
                                             DeFi Education Fund Amicus Exhibit A
                                   Table of IEEPA Indictments Against Individual Defendants

                                                                                                             Relevant Charged
                Case Name                                        Alleged Conduct
                                                                                                                 Violations
      United States v. Sotis, 1:19-cr-   Defendant conspired to violate IEEPA by attempting to export       50 U.S.C. §§ 1705(a),
45.   20693 (S.D. Fl. 2019); 89 F.4th    diving rebreathers to Libya.                                       (c)
      862 (11th Cir. 2023)
      United States v. Fowler, 8-CR-     Defendant conspired to violate IEEPA by exporting software to      18 U.S.C. § 371
46.   03 (LMA)(JCW) (E.D.L.A.            Iran customers.
      2008)
      United States v. Larrison, 9-      Defendant knowingly and willfully attempted to export technology   50 U.S.C. § 1702,
47.
      CR-113 (D. Del. 2009)              including camera and television controls to Iran.                  1705
      United States v. Hassanshahi,      Defendants conspired to violate by IEEPA by causing company in     18 U.S.C. § 371; 50
48.   13-CR-274 (RC) (D.D.C. 2013)       Canada to export a protection relay and related                    U.S.C. § 1705
                                         parts and accessories to Iran, through Armenia
    United States v. Habibion, 11-       Defendants conspired with a company operating in UAE and Iran      18 U.S.C. § 371; 50
49. CR-118 (ESH) (D.D.C. 2011)           to procure U.S.-origin computers and export those computers to     U.S.C. § 1705
                                         Iran, through Dubai.
    United States v. Mousavi, 2:07-      Defendant entered into written consulting agreement to provide     50 U.S.C. §§ 1705;
50. cr-00513 (C.D. Ca. 2007); 604        services to Kuwaiti company related to bid for mobile              18 U.S.C. § 1957
    F.3d 1084 (9th Cir. 2010)            communication license in Iran.




                                                          Page 9 of 9
